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                                   UNITED STATES BANKRUPTCY COURT
                                     MIDDLE DISTRICT OF LOUISIANA

IN RE: David O. Coco                                                                       CASE #17-10391

        CHAPTER 13 PLAN [MOTION FOR FRBP RULE 3012 VALUATION HEARING]

   Original plan
   Amended plan -- Date amended: September 12, 2017

       A portion of the debtor's future earnings sufficient to fund the following full payment plan is
submitted to the supervision and control of the trustee, and the debtor shall pay to the trustee the sum
of $1,020.00 monthly for 60 months.

          From the debtor's payments to the trustee, the trustee shall distribute funds as provided in this
plan:

(1) Trustee Claims

       The trustee shall be paid $6,120.00 as an administrative expense entitled to priority under 11
U.S.C. § 507(a)(1) (ten percent (10%) of payments under the plan).

(2) Priority Claims

          A. ATTORNEY FEES
                                                  Fees paid            Fees to
Attorney’s                                       directly by           be paid               Term                    Monthly
Name                          Total Fees          by the Debtor        in plan              (Months)                Installment
Derren S. Johnson             $3,000.00          $0.00                 $3,000.00              1-3                   $918.00
                                                                                                4                   $246.00

Derren S. Johnson             $1,000.00           $0.00                $1,000.00              6-15                  $100.00
(Escrowed Future Attorney Fees)
*The escrowed funds will be used to pay future attorney fees incurred during the pending chapter 13 case only if court ordered. Such
fees include, but are not limited to, the negotiation of a consent order on the debtor’s real estate or automobile, filing of
miscellaneous motions, and future plan modifications. Escrowed funds are to be paid to general unsecured creditors in the event of
their non-use for purposes of closing out the case or in the event of conversion.


          B. PRIORITY TAX CLAIMS

       The following claims entitled to priority under 11 U.S.C. § 507 shall be paid in full* in
deferred cash payments unless the holder of a particular claim has agreed to a different treatment of
such claim, as indicated below:


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                                                     Annual*
                                                     Interest
                                    Value of         Rate (if      Term        Monthly
    Name of Creditor                Claim            applicable)   (Months)    Installment
    None


    C. DOMESTIC SUPPORT OBLIGATIONS (“DSO”)

     1. Ongoing DSO claims.

            a.        None. If none, skip to subparagraph (3) “Secured Claims” below.

            b. The name(s), address(es) and phone number(s), including area code, of the
               holder of any DSO as defined in 11 U.S.C. §101(14A). Names of minor children
               must not be disclosed. Identify only as “Minor child #1," "Minor child #2," etc.
               See 11 U.S.C. §112.

    Name of DSO              Address, city & state          Zip code      Telephone number
    claim holder
    None

            c. Debtor(s) shall pay all post-petition DSO claims directly to the holder(s) of
               the claim(s), and not through the chapter 13 trustee.

       2. Pre-Petition Child Support Arrearages

       a.        None. If none, skip to subparagraph (3) “Secured Claims” below.

       b. The name, address and phone number (with area code) of the holder of every DSO
          arrearage claim, amount of arrearage claim and monthly payment. Names of minor
          children must not be disclosed. Identify only as “Minor child #1," "Minor child #2,"
          etc. See 11 U.S.C. §112.

   Name, address, phone #           Arrearage Claim                Term          Monthly
   of DSO claim holder                                                         Installments
    None

       c. The trustee shall pay DSO arrearages from the debtor's plan payments.




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           3. DSO assigned or owed to a governmental unit under 11 U.S.C. §507(a)(1)(B):

               a.    None. If none, skip to subparagraph (3) “Secured Claims” below.

               b. The debtor shall make all post-petition payments on DSO claims assigned
                  to a governmental unit directly to the assignee of the claim, and not through
                   the trustee.

               c.   The name, address and phone number (with area code) of the holder of
                     every assigned DSO arrearage claim, amount of arrearage claim and
                     monthly payment amount or other special provisions. The debtor must also
                     describe in detail any special provisions for payments of these claims in
                     section 11 of this plan.

       Name, address, phone #         Arrearage Claim                Monthly Payment
       of DSO claim holder                                           Amount
       None

       (3) Secured Claims

               A. Principal Residence.

               (i) Current Payments. Except as otherwise provided in this plan or by court order,
               and pursuant to 11 U.S.C. § 1322(b)(2), after the date of the petition and throughout
               this chapter 13 case, the debtor shall timely make all usual and regular payments
               required by the debt instruments secured by non-voidable liens on real property (i.e.,
               immovable property) that is the debtor's principal residence, directly to each of the
               following lien creditors:

                    Security                                                 Monthly
Lien holder         Interest          Description of Property/Collateral     Installment *
Shellpoint Mortgage Home Mtg.         House & Lot located at                 $1,884.12
                                      25221 Bickham Road
                                      Jackson, LA 70748
Resume May, 2017

   * Monthly Installment subject to fluctuations in escrow and interest rate changes

(If the plan proposes to pay the claim in a manner different from that required by the debt
instruments and security agreements, the proposed treatment must be described in detail and if not
resolved by consent of all parties, shall be determined at the confirmation hearing.)


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               (ii) Cure of Arrearages. From funds available for distribution, the trustee shall pay
               arrearages to lien holders identified in plan section 3(A) in monthly installments as
               set forth in this plan until the allowed arrearage claim of each lien holder has been
               satisfied.

                                              Annual
                       Total Amount           Interest
                                                Terms       Monthly
Lien holder            of Arrearages*         Rate**
                                                (Months)    Installment
Shellpoint Mtg         $48,429.51               -0-5        $662.01
                       (23 installments per claim)6-15      $818.00
                                                  16-60     $879.72
________________________________________________________________________

*"Total includes attorney's fees, costs, late charges of $11,853.33 and escrow shortfall of
$11,535.85."

**"Confirmation of this plan shall constitute the cure of any default to a lien holder on the principal
residence under any security agreement notwithstanding that the time for reinstatement has expired
under the terms of the security agreement."

               B. Surrender of Property. Upon confirmation of this plan, the debtor shall surrender
               to the following holders of secured claims, in full satisfaction of their secured claims,
               all of the debtor's rights under the Bankruptcy Code, applicable non-bankruptcy law,
               or this plan to maintain an interest in the property securing their claims:

Lien holder            Amount of Secured Claim                 Description of Collateral
Santander              $24,774.00                              2012 Lexus RX350

               The debtor's right under the Bankruptcy Code, applicable non-bankruptcy law or this
plan to assert an interest in the collateral is deemed surrendered upon the entry of the order
confirming this plan. Confirmation of this plan will operate to lift the § 362 stay, with consent of the
debtor, also to allow enforcement of the security interests held by the above claimants, under
applicable non-bankruptcy law.

               C. Pre-Confirmation Adequate Protection. Pursuant to the order of the Court, all
               adequate protection payments to secured creditors required by §1326(a)(1) may be
               made through the Chapter 13 trustee, unless otherwise ordered, in the amount
               provided in the plan for that creditor. Such payments, if made by the trustee, shall be
               subject to the trustee’s percentage fee as set by the designee of the United States
               Attorney General and shall be made in the ordinary course of the trustee’s business,


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             from funds on hand as funds are available for distribution to creditors who have a
             filed claim.

Creditor name, address,      Security               Amount of         Term           Monthly
last four digits of                                  Claim           (Months)        Installment
account number
None

             D. Secured Claims Not Determined under 11 U.S.C. §506

             This subsection provides for treatment of allowed claims secured by a purchase
             money security interest in a vehicle acquired for the debtor's personal use, incurred
             within 910 days before the date of the petition, or incurred within one year before the
             date of the petition, if the collateral for the claim is any other thing of value. See 11
             U.S.C. §1325(a)(9).

             After confirmation, the trustee will make installment payments to the holder of each
             listed allowed secured claim after subtracting the pre-confirmation adequate
             protection payments from the amount of the claim.

Name of      Description             Claim           Interest        Term            Monthly
Creditor     of Property             Amount          Rate            (Months)        Installment
None

             E. Secured Claims Determined under 11 U.S.C. §506

             Any secured claims not treated in plan sections 3(A), (B), (C), (D), (E) or (G) shall
             be determined under 11 U.S.C. § 506, Federal Rule of Bankruptcy Procedure 3007
             and 3012 and Local Rule 3012-1. The trustee shall make payments to the claim
             holder not less than the allowed amount of the secured claim as of the effective date
             of the plan. Each holder of a secured claim shall retain the lien securing the claim
             until the claim is paid in full. The holders of the secured claims, the debtor's
             proposed value and treatment of the claims are set forth below:

Name of      Description             Value of        Interest        Term            Monthly
Creditor     of Property             Claim           Rate            (Months)        Installment
None

             Creditors contesting the proposed value of a secured claim must file an objection by
             the time prescribed by applicable local rules. The Court will take evidence to
             determine the value of the secured claim at the hearing on confirmation, pursuant to

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               Federal Rule of Bankruptcy Procedure 3012.

               [If applicable - The debtor has filed [or will file] a complaint to initiate an adversary
               proceeding in order to cancel an allegedly avoidable lien securing the claim of
               __________________.]

               F. Other Direct Payments to Creditors Holding Secured Claims

               After the date of the petition and throughout this chapter 13 case, the debtor shall
               timely make all usual and regular payments required by the debt instruments secured
               by non-voidable liens directly to each of the following lien creditors:

                  Security                                        Monthly
Creditor          Interest*   Description of Property/Collateral* Installment
None
____________________________________________________________________

Reason for Direct Payment:_ __________________________________________.

       (4) Unsecured Claims

               (A) Class A comprises creditors holding allowed unsecured claims, except those
               allowed unsecured claims treated in plan section 4(B). The claims of those creditors
               shall be paid pro rata over the period of the plan as follows:

Aggregate Amount of
Unsecured Claims                 Interest                   Term                   Monthly
(as scheduled)*                  Rate**                     (Months)               Installment
$921.41                          2.0%                           4                  $672.00
 Claims bar date passed 09/11/17                                5                  $255.99
                                                             16-60                 $ 38.28
________________________________________________________________________
*Informational purposes only; to be included in Class A the claims must be allowed.
**[If applicable; e.g., in cases requiring 100% repayment due to liquidation value of the estate].

       (5) Liquidation Value

       The liquidation value of the estate is $14,967.16 due to administrative fees.

       (6) Present Value of Payments to Class A Unsecured Creditors

      The present value of the payments to be made to unsecured creditors under the plan using a
2.0% annual discount rate is $2,538.75.
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       (7) Executory Contracts and Unexpired Leases

       None.

       (8) Attorney's Fees for Debtor's Counsel

        The debtor's attorney has been paid or promised $3,000.00_in fees plus $310.00 to reimburse
court costs by the debtor for professional services and expenses incurred in this Chapter 13 case.
Approval of attorney fees and expenses will be subject to the debtor’s attorney filing the Attorney
Disclosure Statement in the case and will be sought in conjunction with confirmation of the plan.
The debtor will seek approval of counsel's fees and expenses in conjunction with confirmation of
this plan. Confirmation of the plan shall constitute approval of the fees and expenses, unless the
Court disallows or reduces them.

       (9) Vesting of Property

       Upon confirmation of this plan, all property of the debtor's estate shall vest in the debtor.

       (10) Other Matters

         (A) All holders and/or services of claims secured by liens on real property recognize that
this Plan provides for the curing of default on its claim and maintenance of payments while the case
is pending, and shall accept and apply all payments in accordance with the terms of the loan
documents, the bankruptcy code and the terms of this Plan, whether such payments are immediately
applied to the loan or placed into some type of suspense account. Upon completion of the Plan in
full, the pre-petition arrearage shall be deemed contractually cured. Holders and/or servicers of such
secured claims shall notify the trustee, the debtor, and the attorney for the debtor of any changes in
the interest rate for an adjustable rate mortgage and the effective date of the adjustment; and shall
notify the trustee, the debtor and attorney for debtor of any change in the taxes and insurance that
would either increase or reduce the escrow portion of the monthly mortgage payment; and to
otherwise comply with 11 U.S.C. §524(i).

        (B) - Disposable Income Clause -- This confirmed plan pays unsecured creditors in full
(100% of timely allowed claims) but does not apply all disposable income to the plan payment. The
debtors shall not seek modification of this plan unless the modification also pays 100% of unsecured
claims. If the plan ever fails to pay 100%, for example if a deficiency claim is filed, the debtor shall
amend the plan to pay 100 % or will object to the claim if appropriate, within 30 days of notification
by the trustee. If the plan fails to pay all timely allowed unsecured and priority claims in full, the
debtors will not receive a discharge in this case.


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                                 CERTIFICATION OF COUNSEL


               I hereby certify that I have explained the terms and conditions of, and obligations
under, the foregoing plan to the debtor(s). I also certify that this plan does not differ from the plan
prescribed by Local Rule 3015-1(b) and Standing Order 2010-1, except as noted in the “Other
Matters” section of the form plan, paragraph (10).

               Baton Rouge, Louisiana, this 12 September 2017.




                                                       /s/ Derren S. Johnson_____
                                                       Counsel for Debtor(s)


Amended Plan Signed: September 12, 2017                /s/ David O. Coco _______
                                                       Debtor




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